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 1                                 UNITED STATES DISTRICT COURT
 2                                        DISTRICT OF NEVADA
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      UNITED STATES OF AMERICA,                                     2:05-cr-123-RLH-LRL
 5                                                                  2:04-cr-246-RLH-LRL
                             Plaintiff,
 6
      vs.                                                        ORDER FOR PLACEMENT IN
 7                                                               THE HALF-WAY HOUSE
      TAMIKA IVEY,
 8
                             Defendant.
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                    Presently before the court is the matter of United States v. Arlanders Gibson. et
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     al., in particular, defendant TAMIKA IVEY.
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                    On June 21, 2012, this Court held a hearing for revocation of supervised release as
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     to defendant TAMIKA IVEY. At the hearing, based on a request by the defendant, the Government
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     and the U. S. Probation department, Ms. Ivey’s supervise release was modified to include that she
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     reside for six (6) months in the residential re-entry center/ halfway house. The revocation was held
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     in abeyance and the following condition was added:
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     1.             Reside in Residential Re entry Center - You shall reside at and participate in the
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                    program of a residential re-entry center for a period of six months as approved and
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                    directed by the probation officer.
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                    Accordingly,
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                    IT IS HEREBY ORDERED ADJUDGED AND DECREED that defendant TAMIKA
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     IVEY reside in a residential re-entry center/ half-way house for six (6) months.
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                    DATED: 21st Day of June , 2012.
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